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LARS ROBERT ISAACSON
Hawai’i Bar Numberf 5314
Attorney at Law

547 Halekauwila Street, Suite 102

Honolulu, Hawai’i 9681 3
Phonei 808'497'3811
Fax1866'616'2132

E'maili Hawaii.defender@earthlink.net

Standby Counsel for Defendant Anthony T. Williams

lN THE UNITED STATES DISTRICT COURT

DISTRICT OF HAWAI’I

 

 

UNITED STATES OF AMERICA,

Plaintiff,

ANTHONY T. WILLIAMS,

Defendant.

 

CR NO. 17'00101 LEK

DECLARATION OF COUNSEL;
EXHIBIT “A;” CERTIFICATE OF
SERVICE

 

 

DECLARATION OF COUNSEL

 

Comes now standby defense counsel Lars Robert Isaacson, and hereby provides

the following Declaration of Counsel concerning this case.

l, LARS ISAACSON, hereby declare as followsi

1. l have been appointed standby attorney for Mr. Williams in the above'

entitled manner, and have been encouraged and empowered to assist him in

the preparation of his defense.

2- Attached as Exhibit “A” is a document entitled “Notice ofAuthorjties in

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Support ofMotion to Compe]" that Was given to me by l\/[r. Williarns at FDC
Honolulu on December 8, 2017 for filing with this court.
l declare under penalty of perjury that the foregoing statements are true and
correct, to the best of my knowledge, information, and belief.

Dated December 8, 2017
Respectfully submitted,

/s/ Lars Robert lsaacson

LARS ROBERT lSAACSON
Standby Counsel for Mr. Williams

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CERTIFICATE OF SERVICE

On December 8, 2017, a copy of the foregoing Was Served on all parties of record by
electronic flling.

Respectfully submitted,

/S/ Lars Robert Isaacson
LARS ROBERT ISAACSON
Standby Counsel for Mr. Williams

